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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


UNITED STATES,

         Plaintiff,

v.                                                          Case No: 6:20-cr-97-GAP-LHP

JOEL MICAH GREENBERG,

         Defendant.

_______________________________/

 DEFENDANT’S RESPONSE TO GOVERNMENT MOTION TO REDUCE
               MR. GREENBERG’S SENTENCE

         The Defendant, JOEL GREENBERG, by and through his undersigned counsel,

files this Response to the Government’s Motion to reduce his sentence under USSG §

5K1.1 and 18 U.S.C. § 3553(e). Doc. 154. In support thereof, Mr. Greenberg states

the following:

                                MEMORANDUM OF LAW

         On November 10, 2022, the Government filed its motion to reduce Mr.

Greenberg’s sentence. See Doc. 154. In its motion, the Government seeks a 10-level

reduction in Mr. Greenberg’s guideline sentence pursuant to USSG § 5K1.1 and 18

U.S.C. § 3553(e).1 See id.


1    Tile 18, U.S.C. section 3553(e) states, in pertinent, part, that:

         Upon motion of the Government, the court shall have the authority to impose
         a sentence below a level established by statute as a minimum sentence so as
         to reflect a defendant’s substantial assistance in the investigation or
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       Significantly, the Government has only moved under § 3553(e) for a

substantial assistance reduction for the 10-year mandatory minimum penalty that

applies to Count 1. Thus, the 2-year consecutive mandatory penalty relating to Mr.

Greenberg’s Aggravated Identity Theft conviction (Count 9) still applies. See 18

U.S.C. § 1028A. Assuming, arguendo, that this Court grants the Government’s

substantial assistance motion, the resulting and reduced guideline level does not set

the sentencing range. Rather, the resulting guideline must be followed by an

additional two years of imprisonment. In other words, the 10-level departure

requested by the Government is not really 10 levels.

       And therein lies the rub. In cases involving minimum mandatory penalties,

judicial discretion is replaced by both congressional and prosecutorial prerogative.

Faced with a minimum mandatory penalty, a court’s discretion to impose a just

sentence is limited by the confines of the preordained penalties prescribed by

Congress.2 Thus, a district court loses its discretion to “impose a sentence that is

sufficient, but not greater than necessary” to accomplish the goals of sentencing as

required under 18 U.S.C. § 3553. See United States v. Polizzi, 549 F.Supp.2d 308,

399 (E.D. N.Y 2008) (vacated and remanded United States v. Polizzi, 564 F.3d 142

(2d Cir. 2009).3



       prosecution of another person who has committed an offense.

2  In effect, we have arrived at the absurd reality where the Queen of Heart’s statement
“[s]entence first – verdict afterwards” is realized. See Lewis Carroll, Alice’s Adventures
in Wonderland 146 (Random House 1946)(1865).
3 In Polizzi, the Court granted the Defendant’s motion for a new trial based on its failure to


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       Armed with Congress’ preordained sentences, the prerogative of the

prosecutor to bring minimum mandatory charges also nullifies judicial discretion at

sentencing.4 To be sure, minimum mandatory sentencing effectively replaces the

finite sentencing discretion of the judge with the unbounded discretion of the

prosecutor, who effectively decides the defendant’s sentence by choosing which

crimes are charged. See Polizzi, 549 F.Supp.2d at 399. See also Harris v. United

States, 536 U.S. 545, 570-71 (2002)(Breyer, J, concurring in part and concurring in

the judgment).

       From this lamentable starting point, prosecutorial discretion extends to the

plea offer given and continues to whether a § 5K1.1 motion for departure is filed, and

if so, for how much. Concerning this last point regarding the extent of the substantial

assistance departure, the Government’s discretion to decide whether the motion is

filed under § 3553(e), in addition to § 5K1.1, means that the prosecutor ultimately

has the power to determine whether the minimum mandatory sentence still applies

to the defendant, notwithstanding the filing of the substantial assistance motion.

Such a tenet is apparent in Mr. Greenberg’s case. Indeed, the Government has done

much to fashion his sentence in determining that his guideline sentence will be


instruct the jury regarding the five-year mandatory minimum sentence that would apply if
the Defendant was convicted. In United States v. Polizzi, the Second Circuit concluded that
the district court abused its discretion in ordering a new trial based on such a failure. 564
F.3d 142, 159 (2d Cir. 2009). However, the court did not conclude, as the government urged,
that a court may never instruct a jury regarding the mandatory minimum sentence. Id. (citing
United States v. Shannon, 512 U.S. Shannon, 512 U.S. 573, 586 (1994)).
4 Of course, such a transfer is inconsistent with the separation of powers set forth in Article

III of the Constitution, which provides the judiciary with the express authority to decide all
cases and controversies. U.S. Const. art. III, § 2.

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necessarily increased by two years.

      So where does this leave Greenberg. Fortunately, the Government’s power is

not limitless. Pursuant to §5K1.1 and § 3553(e), once the government files a motion

with this Court advising that the defendant has provided substantial assistance, this

Honorable Court may depart downward to any sentence that it feels is appropriate

as long as it states the reasons for reducing the sentence pursuant to §5K1.1. See

United States v. Pippin, 903 F.2d 1478, 1485 (11th Cir. 1990)(concluding that once

the government makes a § 5K1.1 motion, the government has no control over the

extent of a court’s departure.).

      As Pippin noted:

      [g]overnment counsel should keep in mind, however, that the only
      authority delegated to the government by § 5K1.1 is the authority to
      move the district court for a reduction of sentence in cases in which the
      defendant has rendered substantial assistance. Once it has made a
      5K1.1 motion, the government has no control over whether and to what
      extent the district court departs from the Guidelines, except that if a
      departure occurs, the government may argue on appeal that the
      sentence imposed was unreasonable.

903 F.2d at 1485. In this way, a federal court retains the discretion and

responsibility to provide its own individual assessment of a Defendant’s cooperation.

Consequently, and thankfully, the federal judge remains the ultimate arbitrator of a

§5K1.1 departure and the Defendant’s resulting sentence. Such judicial autonomy is

critical in the instant case since the Government’s request for 10-levels is

insufficient.

      In its motion and accompanying sealed memorandum, the Government


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identifies four categories of Mr. Greenberg’s cooperation. See Doc. 154 at 1.

      Category 1

      The first category encompasses Mr. Greenberg’s substantial assistance against

both Jospeh Ellicott and Michael Shirley. See United States v. Joseph Ellicot, 6:22-

cr-9-GAP-DAB (M.D. Fla. Oct. 11, 2022)(date of imposition of sentence); United

States v. Michael Shirley, Case No. 6:22-cr-123-GAP-DCI (M.D. Fla. 2022).

      Based primarily on his cooperation against Shirley, Ellicott received a 4-level

departure under USSG § 5K1.1. See Ellicott, 6:22-cr-9-GAP-DAB, at Doc. 59.

Because Mr. Greenberg’s cooperation involved two cases rather than Ellicott’s single

case involving Shirley, fairness and consistency demand that Greenberg is entitled to

more than the four-levels that Ellicott received.

      Category II

      The Government admits that Greenberg also provided information leading to

convictions or prosecutions of individuals concerning his loan fraud with the Small

Business Administration. See Doc. 154 at 3. Said information led to the conviction of

United States v. Teresa McIntyre, 6:22-cr-78-WWB-EJK (M.D. Fla. May 24,

2022)(date of plea hearing). Id. Under the precedent of Joseph Ellicott’s case, Mr.

Greenberg would be entitled to four levels for this cooperation.

      But the cooperation narrative does not end with Ms. McIntyre. Indeed, Mr.

Greenberg has provided substantial assistance against two other individuals in this

category. To be consistent with the Government’s sealed memo and to preserve the

integrity of their ongoing investigations, the undersigned will also provide additional

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information concerning this Honorable Court under seal.

      Category III

      The third area of Mr. Greenberg’s cooperation involved his substantial

assistance in criminal offenses involving the Seminole County Tax Collector’s office.

See Doc. 154 at 3. In this context, his cooperation led to guilty plea of Keith Ingersoll.

See id. (United States v. Ingersoll et al, Case No. 6:21-cr-123-GAP-EJK-1 (M.D. Fla.

Oct. 18, 2022)(date of guilty plea)). The “et al” in the case style refers to the co-

defendant James P. Adamczyk, who was indicted for the same offenses as Ingersoll.

See Ingersoll et al, Case No. 6:21-cr-123-GAP-EJK-1, at Doc. 1. Notably, Mr.

Greenberg not only cooperated against Ingersoll, but also provided substantial

assistance against Adamcyk, who passed away during the pendency of his case. Once

Again, Mr. Greenberg should be entitled to at least four-levels for his cooperation

in category III.

      In assessing Mr. Greenberg’s assistance in the first three categories alone, the

conclusion is that he provided substantial assistance leading to the investigation

and/or prosecution of 7 individuals. Thus, the Government’s request for 10 levels is

not sufficient. Moreover, it is entirely inconsistent with their initial recommendation

of a three level § 5K1.1 departure in Mr. Ellicott’s case.

      Category IV

      Behind this single category lies an entire universe of malfeasance, corruption,

and depravity. Mindful of the Government’s need to safeguard this information, the

undersigned will be providing relevant information to this Court under seal.

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      For an extensive period, Mr. Greenberg has furthered the Government’s

investigation and prosecution in multiple areas. At this point, his cooperation has

led to multiple federal indictments and convictions, with more to come. Based on the

§ 5K1.1 precedent that has already been established in Mr. Ellicott’s case, a request

of 10 levels (which is not really ten levels) is terribly inadequate.

      WHEREFORE, the Defendant Joel Micah Greenberg respectfully moves this

Honorable Court to grant the Government’s for Downward Departure and grant a

16-level reduction in his guideline level to be followed by a consecutive penalty of

two-years.

      Respectfully submitted this 15th day of November 2022.

                                               /s/ Fritz Scheller
                                               Fritz Scheller
                                               Florida Bar No. 0183113




                          CERTIFICATE OF SERVICE

      On November 15, 2022, I filed the foregoing with the clerk of the court under

seal and provided a copy of the foregoing to the Assistant United States Attorney.


                                               /s/ Fritz Scheller
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